Case 2:04-cr-20243-SH|\/| Document 86 Filed 06/13/05 Page 1 of 2 Page|D 121

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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i.
UNITED STATES OF AMERICA,

Plaintiff,
VS.

CR. NO. 04-20243-Ma

TAVARISH WHITE,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2200 p.m.

The period frmm May 31, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT rs so oRDEREn this '3%\ day @f June, 2005.

_j///WL._.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

  

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MEMPHS

 

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ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

